Plaintiff was injured when diving off a diving board in defendant's bathing resort. The second count sounds in nuisance.
The plaintiff obviously was not using the diving board in the exercise of a public right. Dewing v.Old Black Point Assn., 19 Conn. Sup. 230. And there could be no private nuisance, since he was not injured in relation to a right which he enjoyed by *Page 21 
reason of his ownership of an interest in land.Webel v. Yale University, 125 Conn. 515, 525. There is no merit to the plaintiff's claim that because he was a licensee he came under the classification of an owner of an interest in land. Bland v. Bregman,123 Conn. 61, 64.
   The demurrer to the second count of the complaint is sustained.